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AO 245B (CASDRev. 08/13) Judgment in a Criminal Case


                                      UNITED STATES DISTRICT COURT
                                         SOUTHERN DISTRICT OF CALIFORNIA                                   :   .'
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             UNITEDSTATESOFAMEIDCA                                  JUDGMENT IN A CRIMINAL CASE
                                 V.                                 (For Offenses Committed On or After November], ] 987)
 JOSE ALEJANDRO CORDOVA-CASTELLANOS (2)
                                                                       Case Number:         14CR3352-H                             ~.
       also known as: Jose Cordova-Castellanos
                                                                    Merle N. Schneidewind
                                                                    Defendant's Attorney
REGISTRATION NO.                 42687-298


IZI pleaded guilty to count(s)         4,5, and 8 of the Infonnation.

    was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                           Count
Title & Section                   Nature of Offense                                                                      Number(s)
8 USC 1324(a)(l)(A)(iii)          HARBORING ILLEGAL ALIENS AND AIDING AND                                                  4,5,8
and (v)(lI)                       ABETTING (Felony)




    The defendant is sentenced as provided in pages 2 through                  2           of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
      The defendant has been found not guilty on count(s)

      Count(s)                                                IS          dismissed on the motion of the United States.

IZI   Assessment: $300.00 ($100.00 per count) waived.



IZI   Fine waived            D Forfeiture pursuant to order filed                                                   , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                    March 9....2Qlj


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                                                                    HON.MARILYr L.HUFF
                                                                    UNITED STATES DISTRICT JUDGE




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    DEFENDANT:               JOSE ALEJANDRO CORDOVA-CASTELLANOS (2)                                   Judgment - Page 2 of 2
    CASE NUMBER:             14CR3352-H

                                                    IMPRISONMENT
    The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
    TIME SERVED (140 DAYS) CONCURRENT WITH ALL COUNTS.




    o     Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o     The court makes the following recommendations to the Bureau of Prisons:




    o     The defendant is remanded to the custody of the United States Marshal.

          The defendant shall surrender to the United States Marshal for this district:
          o    at                              A.M.              on
          o    as notified by the United States MarshaL

          The defendant shall surrender for service of sentence at the institution designated by the Bureau of
          Prisons:
               on or before
          o    as notified by the United States Marshal.
          o    as notified by the Probation or Pretrial Services Office.

                                                          RETURN
    I have executed this judgment as follows:

          Defendant delivered on
                                   ------------------------ to ----------------------------
    at                                        , with a certified copy of this judgment.


                                                                      UNITED STATES MARSHAL



                                        By                    DEPUTY UNITED STATES MARSHAL



                                                                                                               14CR3352-H
